Case 3:18-cv-00724-BJD-JK          Document 14        Filed 09/07/18      Page 1 of 3 PageID 113




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

REYNALDO ALQUEZA GONZALES,
ROLANDO ALQUEZA GONZALES, and
PATROCINIO PIO BAYOT GONZALES

                               Plaintiffs,

v.                                                    Case No.: 3:18-cv-00724-BJD-JRK


UNITED STATES OF AMERICA, et al.,

                        Defendants.
_________________________________________________/

               NOTICE OF WITHDRAWAL OF PLAINTIFFS’ MOTIONS
             FOR CLERK’S ENTRY OF DEFAULT AGAINST DEFENDANTS

        COME NOW, the Plaintiffs, Reynaldo Alqueza Gonzales, Rolando Alqueza Gonzales

and Patrocinio Pio Bayot Gonzales, by and through the undersigned counsel, hereby file this

Notice of Withdrawal of Plaintiffs’ Motions for Clerk’s Entry of Default Against Defendants

(Docs. 7-12). In support of this Notice, the Plaintiffs state the following:

     1. The Plaintiffs filed the Complaint (Doc. 1) on June 6, 2018.

     2. Pursuant to 22 C.R.F. 172(a), the Defendants were served civil process at the Executive

Office, Office of the Legal Adviser, in Washington D.C. on June 20, 2018.

     3. On August 29, 2018, the Plaintiffs filed individual Motions/Requests for Clerk’s Entry of

Default against the Defendants because no responsive pleadings were filed on the Defendants’

behalf within 60 days of service. See. Docs. 7-12.

     4. The undersigned counsel received an email from the U.S. Attorney’s Office in the Middle
Case 3:18-cv-00724-BJD-JK         Document 14          Filed 09/07/18    Page 2 of 3 PageID 114




District of Florida on August 30, 2018 regarding the pending Motion for Entry of Clerk’s Default

Against Defendant United States of America (Doc. 7).

   5. The Assistant U.S. Attorney’s email stated that service of process for Defendant United

States was incomplete because the U.S. Attorney’s Office in the Middle District of Florida was

not delivered a copy of the Complaint and Summons. See. Fed. R. Civ. P. 4(i)(1)(A)(i).

   6. The undersigned counsel requested and received a Summons for Defendant United States

of America c/o United States Attorney’s Office in the Middle District of Florida (Doc. 13) on

August 30, 2018 and personally delivered a copy of the Complaint and Summons to the U.S.

Attorney’s Office in the Middle District of Florida.

   7. Additionally, pursuant to Fed. R. Civ. P. 4(i)(1)(A)(ii) and 4(i)(1)(B), the undersigned

counsel sent a copy of the Complaint and the Summons for every Defendant by certified mail to

the United States Attorney’s Office in the Middle District of Florida and the Attorney General of

the United States in Washington D.C. on August 31, 2018.

   8. The Plaintiffs will re-file the Motions for Entry of Default Against Defendants should no

responsive pleading be filed within the 60 days.

                                                       Respectfully Submitted,

                                                       /s/ JAMES GALLOWAY
                                                       James Galloway, Esq.
                                                       Florida Bar No.: 0109461
                                                       Galloway Law Firm of Ponte Vedra Beach,
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Case 3:18-cv-00724-BJD-JK         Document 14       Filed 09/07/18      Page 3 of 3 PageID 115




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of

Withdrawal of Plaintiffs’ Motions for Clerk’s Entry of Default Against Defendants was e-filed

and mailed to The Executive Office, Office of the Legal Adviser, Suite 5.600, 600 19th Street

NW, Washington DC 20522, the Attorney General of the United States, U.S. Department of

Justice, 950 Pennsylvania Ave., NW, Washington D.C. 20530, and the United States of America

c/o United States Attorney’s Office, Middle District of Florida, 300 N. Hogan St., Suite 700,

Jacksonville, Florida 32202.

                                                    /s/ JAMES GALLOWAY
                                                    James Galloway, Esq.
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